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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 UNITED STATES OF AMERICA,                       )
                                                 )
          v.                                     )
                                                 )   Criminal Action No. 23-mj-00274 (MN)
 ROBERT HUNTER BIDEN,                            )
                                                 )
                        Defendant.               )

                                            ORDER

         At Wilmington, this 17th day of August 2023;

         WHEREAS, the United States has represented that venue for the offenses that are the

subject of the information filed in the above-captioned matter “does not lie in Delaware” (D.I. 31

at 1);

         WHEREAS, the United States has moved “to voluntarily dismiss the information filed in

the above-captioned matter without prejudice so that the United States can bring tax charges in a

district where venue lies” (id.); and

         WHEREAS, Defendant does not oppose the United States’ motion (D.I. 40).

         THEREFORE, IT IS HEREBY ORDERED that the United States’ motion to dismiss

(D.I. 31) is GRANTED. The information filed in the above-captioned matter is DISMISSED

without prejudice.



                                                     The Honorable Maryellen Noreika
                                                     United States District Judge
